                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION


ALAN HIDALGO-LOBO                             ) Civil No. 3:20-cv-00514
                                              )
       Plaintiff                              )
v.                                            )
                                              ) COMPLAINT
HOMEFIX CUSTOM REMODELING                     )
CORPORATION f/k/a HOMEFIX                     )
CORPORATION,                                  )
                                              )
       Defendant                              )
                                              )



       Plaintiff, Alan Hidalgo-Lobo (“Plaintiff”), through counsel, brings this action for

violations of: (1) the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b) and (2) the North

Carolina Wage and Hour Act (“NCWHA”), N.C. Gen. Stat. §§95.25.1 et. seq. against Defendant

Homefix Custom Remodeling Corporation f/k/a Homefix Corporation (“Defendant”).

                           NATURE OF PLAINTIFF’S CLAIMS

       1.     Plaintiff brings his FLSA claims under 29 U.S.C. § 216(b) and seeks to recover

unpaid minimum wages and statutory penalties during the three-year period preceding filing this

Complaint. Plaintiff’s FLSA claims result from Defendant’s policy and practice of failing to pay

Plaintiff the statutory minimum wage for all hours worked each workweek he was employed by

Defendant.

       2.     Plaintiff brings his NCWHA claims pursuant to N.C. Gen. Stat. §§ 95-25.1 et. seq.

and seeks to recover unpaid wages and statutory penalties during the two-year period preceding




      Case 3:20-cv-00514-MOC-DSC Document 1 Filed 09/17/20 Page 1 of 8
filing this Complaint. Plaintiff’s NCWHA claims result from Defendant’s policy and practice of

failing to pay Plaintiff all earned wages on his regularly scheduled paydays.

                                           THE PARTIES

       3.      Plaintiff is an adult individual who is a resident of Charlotte, North Carolina.

       4.      CPP is a Maryland business corporation registered and in good standing to conduct

business in the State of North Carolina.

                                JURISDICTION AND VENUE

       5.      This Court has original federal question jurisdiction under 28 U.S.C. § 1331 for the

claims brought under the FLSA, 29 U.S.C. § 201 et. seq.

       6.      The claims for violations of the NCWHA are based on the statutory and or common

law of the State of North Carolina. Supplemental jurisdiction exists under 28 U.S.C. § 1367 for

the pendent state claims because they arise out of the same nucleus of operative facts as the FLSA

claims – both claims arise out of Defendant’s unlawful policies and practices related to Plaintiff’s

compensation and terms and condition of employment with Defendant.

       7.      This Court has personal jurisdiction because Defendant conducts business in

Mecklenburg County, North Carolina, which is within this judicial district.

       8.      Venue is proper in this judicial district because Defendant has substantial business

contacts in this district and because the unlawful acts alleged occurred in Mecklenburg County,

North Carolina.

                                COVERAGE ALLEGATIONS

       9.      Defendant is an employer within the meaning of Section 3(d) of the FLSA, 29

U.S.C. § 203(d).



                                                 2

       Case 3:20-cv-00514-MOC-DSC Document 1 Filed 09/17/20 Page 2 of 8
       10.     At all times hereinafter mentioned, Defendant has been an enterprise within the

meaning of Section 3(r) of the FLSA 29 U.S.C. § 203(r).

       11.     At all times hereinafter mentioned, Defendant has been an enterprise engaged in

commerce or in the production of goods for commerce within the meaning of Section 3(s)(1) of

the FLSA, 29 U.S.C. § 203(s)(1), in that the enterprise has had employees engaged in commerce

or in the production of goods for commerce, or employees handling, selling, or otherwise working

on goods or materials that have been moved in or produced for commerce by any person and in

that the enterprise has had and has an annual gross volume of sales made or business done of not

less than $500,000.

       12.     Plaintiff was an employee of Defendant within the meaning of Section 3(e) of the

FLSA, 29 U.S.C. § 203(e).

       13.     At all times hereinafter mentioned, Plaintiff was an individual employee engaged

in commerce or in the production of goods for commerce as required by 29 U.S.C. § 207.

       14.     At all times hereinafter mentioned, Defendant has been an employer within the

meaning of Section 95-25.2(5) of the NCWHA, N.C. Gen. Stat. § 95-25.2(5).

       15.     At all times hereinafter mentioned, Plaintiff was an employee within the meaning

of Section 95-25.2(4) of the NCWHA, N.C. Gen. Stat. § 95-25.2(4).

                          PLAINTIFF’S FACTUAL ALLEGATIONS

       16.     Defendant is a residential remodeling business, servicing customers in North

Carolina and other states. Defendant sells and performs remodeling services relating to windows,

roofing, siding, doors, gutters and insulation.

       17.     Defendant employed Plaintiff in the position of “lead developer” from

approximately July 2019 through January 2020.

                                                  3

       Case 3:20-cv-00514-MOC-DSC Document 1 Filed 09/17/20 Page 3 of 8
       18.     Plaintiff’s primary job duties involved physical labor, i.e. canvassing

neighborhoods to generate leads for Defendant’s sales staff. A “lead” is a commitment from a

homeowner to meet with Defendant’s sales personnel to discuss purchasing remodeling services.

       19.     Defendant unlawfully classified Plaintiff as an “independent contractor”, even

though Defendant supervised, maintained substantial control, and reserved the right to control him,

the conditions of his work and the performance of his work.

       20.     Plaintiff performed work that was an integral part of Defendant’s business, i.e.

generating leads for Defendant’s sales staff.

       21.     Plaintiff did not make any significant investment in relation to his work with

Defendant. Defendant provided the training and equipment necessary to perform his job duties.

       22.     Plaintiff had little or no opportunity for profit or loss related to their work with

Defendant. Defendant promised to pay Plaintiff a fixed dollar amount for each lead that resulted

in a sales presentation by one of Defendant’s sales personnel. Lead developers were not engaged

in sales, nor did they have the authority to make sales or obtain orders or contracts for Defendant’s

remodeling services. Lead developers are required to inform homeowners that any questions

relating to price and purchase of remodeling services will be explained by Defendant’s sales

personnel. A lead developer’s sole job duty is to obtain leads for Defendant.

       23.     Plaintiff performed work that did not require special skill, judgment, or initiative.

Defendant provided training to Plaintiff.

       24.     Plaintiff was economically dependent on Defendant. Defendant tracked Plaintiff’s

work through a centralized computer system called Tracker. When a lead developer speaks with

a homeowner, Defendant records the information about the homeowner in Tracker. Once a sales



                                                 4

       Case 3:20-cv-00514-MOC-DSC Document 1 Filed 09/17/20 Page 4 of 8
appointment occurs, Defendant updates Tracker with information about the sale or necessary

follow-up.

       25.     Defendant required Plaintiff to report to a Homefix office to attend trainings or

meetings each weekday prior to transporting Plaintiff to neighborhoods to canvass for leads. As

part of the training, Defendant reviews hypothetical scenarios and provides coaching on how to

schedule appointments for homeowners to meet with Defendant’s sales personnel. Defendant

provides written instructions and scripts for lead developers to use during their meetings with

homeowners.

       26.     Defendant also trains lead developers to identify problems in a house, including

windows and roofs, to target the initial conversation with homeowners.

       27.      Defendant requires lead developers to wear a uniform with the Homefix logo while

canvassing neighborhoods.

       28.     Plaintiff did not perform job duties that would permit Defendant to lawfully classify

him as exempt from the minimum wage requirements under the FLSA.

       29.      At all relevant times, Plaintiff was a nonexempt employee within the meaning of

the FLSA and eligible for overtime compensation for all work performed in excess of 40 hours in

a workweek.

       30.     Defendant employed Plaintiff during the FLSA’s three-year statutory period

preceding the filing of this complaint.

       31.     Plaintiff typically worked 4 to 5 days each week and at least 7 hours per day.

       32.     Defendant did not track and record the hours worked by Plaintiff as required by

the FLSA.



                                                 5

       Case 3:20-cv-00514-MOC-DSC Document 1 Filed 09/17/20 Page 5 of 8
       33.     Defendant did not pay Plaintiff the statutory minimum wage for all hours worked.

During one or more workweeks, Defendant failed to pay Plaintiff any compensation, even

though Plaintiff reported to work and canvassed neighborhoods for leads.

       34.     Defendant did not pay Plaintiff for all compensable leads he generated for

Defendant.

       35.     Defendant failed to timely pay all of Plaintiff’s earned wages in violation of the

NCWHA.

                        (Count I-Violation of FLSA – Minimum Wage)

       36.     Plaintiff incorporates by reference paragraphs 1-35 of his Complaint.

       37.     Defendant violated the FLSA by failing to pay the statutory minimum wage for

all hours worked by Plaintiff.

       38.     Defendant violated the FLSA by failing to comply with the timekeeping and

recordkeeping provisions of the FLSA.

       39.     Defendant’s violation of the FLSA was willful.

                                 (Count II-Violation of NCWHA)


       40.     Plaintiff incorporates by reference paragraphs 1-39 of his Complaint.

       41.     Plaintiff’s NCWHA claims arise from Defendant’s policy and practice of failing

to pay all of Plaintiff’s earned wages in violation of N.C. Gen. Stat. §§ 95-25.6 and 95-25.7.

       42.     Defendant unlawfully failed to pay Plaintiff compensation for all compensable

leads generated by Plaintiff.

       43.     Defendant’s conduct was willful.




                                                  6

       Case 3:20-cv-00514-MOC-DSC Document 1 Filed 09/17/20 Page 6 of 8
                                 PRAYER FOR RELIEF

     WHEREFORE, Plaintiff demands the following relief:

a)           An Order under Section 16(b) of the FLSA finding Defendant liable for unpaid

     minimum wages due to Plaintiff and for liquidated damages equal in amount to the

     unpaid compensation found due to Plaintiff;

b)           An Order under N.C. Gen. Stat. § 95-25.6 and 7 finding Defendant liable for

     timely pay all wages due to Plaintiff and for liquidated damages equal in amount to the

     unpaid compensation found due to Plaintiff;

c)           An Order awarding the costs of this action;

d)           An Order awarding reasonable attorneys’ fees;

e)           A Declaration and finding by the Court that Defendant willfully violated

     provisions of the FLSA by failing to comply with the overtime requirements of the

     FLSA;

f)           A Declaration and finding by the Court that Defendant willfully violated

     provisions of the NCWHA by failing to comply with the overtime requirements of the

     NCWHA;

g)           An Order awarding pre-judgment and post-judgment interest at the highest rates

     allowed by law; and

h)           An Order granting such other and further relief as may be necessary and

     appropriate.




                                              7

     Case 3:20-cv-00514-MOC-DSC Document 1 Filed 09/17/20 Page 7 of 8
                             Respectfully submitted,



                             /s/ Jason S. Chestnut
                             Philip J. Gibbons, Jr., NCSB #50276
                             Craig L. Leis, NCSB #48582
                             Jason Chestnut NCSB #52066

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                                8

Case 3:20-cv-00514-MOC-DSC Document 1 Filed 09/17/20 Page 8 of 8
